        Case 4:09-cr-00305-JM         Document 126        Filed 12/02/10      Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                 NO. 4:09CR00305-02 JLH

RALPH FRANCIS DELEO                                                                 DEFENDANT


                                             ORDER

       Ralph Francis Deleo has filed a pro se motion for new trial. Rule 33 of the Federal Rules of

Criminal Procedure provides for motions for new trial. Such a motion must be filed within fourteen

days after the verdict. Fed. R. Crim. P. 33(b)(2). Deleo's motion is untimely. Therefore, the motion

for new trial is denied.

        IT IS SO ORDERED this 2nd day of December, 2010.




                                                       f)4/~
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
